Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 1 of 26




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                         CASE NO . 06-80226-CIV-MIDDLEBROOKS/JOHNSO N

  FEDERAL TRADE COMMISSION,
                                                                             iL_tU Dy
            Plaintiff,
  V.
                                                                               W ~ 0 2006
  GARDEN OF LIFE, INC ., an d                                                  CLARENCE MADDOX
                                                                                      U .S . DIST . CT
  JORDAN S . RUBIN,,                                                            ^ . OF FtA .    W.P 4



            Defendants .


                     STIPULATED FINAL ORDER AND JUDGMENT FOR
                 PERMANENT INJUNCTION AND OTHER EQUITABLE RELIE F

            Plaintiff, the Federal Trade Commission ("FTC" or " Commission ") filed a Complaint for

  Permanent Injunction an d Other Equitable Relief against defend ants Garden of Life , Inc . and

  Jordan S . Rubin ("defendants") pursuant to Section 13(b) of the Federal Trade Commission Act

  ("FTC Act"), 15 U S C . § 53(b), alleging deceptive acts or practices and false advertisements in

  violation of Sections 5(a) and 12 of the FTC Act, 15 U .S .C . §§ 45 (a) and 52 .

  The Commission and defend an ts have stipulated to the ent ry of this Order in se ttlement of

  the Commission 's allegations against defend ants . The Court, being advised in the premises,

  finds :

                                               FINDINGS

            1 . This Court has jurisdiction over the subject matter of this case and jurisdiction

  over all parties . Venue in the Southern District of Florida is proper .

            2 . The complaint states a claim upon which relief can be granted, and the

  Commission has the authority to seek the relief it has requested .




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Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 2 of 26




           3 . The acts and practices of defendants were and are in or affecting commerce, as

   defined in Section 4 of the FTC Act, 15 U .S .C. § 44.

           4 . The Commission and defend ants stipulate and agree to this Order , without t ri al or

   final adjudication of any issue of fact or law, to settle and resolve all matters in dispute arising

   from defendants' course of conduct related to the sale of dietary supplements up to the date of

   ent ry of this Order. By entering this stipulation , defendants do not admit or deny any of the

   allegations set forth in the complaint , other than jurisdictional facts . Nothing in this stipulation

   shall be considered or construed to be an admission of liability by defendants.

           5 . Defendants waive all rights to seek judicial review or otherwise challenge or

   contest the validity of this Order . Defend ants also waive any claim that they may have held

   under the Equal Access to Justice Act, 28 U . S.C . § 2412, concerning the prosecution of this

   action to the date of this Order.

           6. Pursu ant to Federal Rule of Civil Procedure 65(d), the provisions of this Order are

   binding upon defend ants, and their officers , agents , servants, representatives , employees, an d all

   other persons or entities in active concert or participation with them, who receive actual notice of

   this Order by personal service or otherwise .

           7. Nothing in this Order obviates defend ants' obligation to comply with Sections 5

   and 12 of the Federal Trade Commission Act, 15 U .S .C. §§ 45 and 52 .

           8. This Order was drafted jointly by plaintiff and defendants and reflects the

   negotiated agreement of the parties.

           9. The paragraphs of this Order shall be read as the necessa ry requirements for

   compli ance and not as altern atives for compli ance and no paragraph se rv es to modify another

   paragraph unless expressly so stated .
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 3 of 26




           10. Each party shall bear its own costs and attorneys' fees .

           11 . Entry of this Order is in the public interest.

                                                 ORDER

                                             DEFINITIONS

           For purposes of this Order, the following definitions shall apply :

           1 . Unless otherwise specified, "defendants" shall mean :

                   a. Garden of Life, Inc . ("Garden of Life"), a corporation, its divisions and

                          subsidiaries, and its successors and assigns ; and

                   b . Jordan S . Rubin, individually and in his capacity as a director or officer of

                          Garden of Life .

           2 . "Commerce" shall mean "commerce" as defined in Section 4 of the FTC Act, 15

   U.S .C. § 44.

           3. "Competent and reliable scientific evidence" shall mean tests, analyses, research,

   studies, or other evidence based on the expertise of professionals in the relevant area, that has

   been conducted and evaluated in an objective manner by persons qualified to do so, using

   procedures generally accepted in the profession to yield accurate and reliable results .

           4. "Covered product" shall mean any : dietary supplement, including but not limited

   to Primal Defense, RM-10, Living Multi, and FYI-For Your Inflammation ; food; drug; or any

   program that includes any dietary supplement, food, or drug .

           5. "Endorsement" shall mean as defined in 16 C .F.R. § 255 .0(b) .

           6. "Food" and "drug" shall mean "food" and "drug" as defined in Section 15 of the

   FTC Act, 15 U.S.C. § 55.


                                               Page 3 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 4 of 26




           7. The term "including" in this Order shall mean "without limitation ."

           8 . The terms "and" and "or" in this Order shall be construed conjunctively or

   disjunctively as necessary, to make the applicable phrase or sentence inclusive rather than

   exclusive .

                                     CONDUCT PROHIBITION S

                                      1.
                 REPRESENTATIONS CONCERNING COVERED PRODUCTS

           IT IS HEREBY ORDERED that defendants, directly or through any corporation,

   partnership, subsidiary, division, trade name, or other device, and their officers, agents, servants,

   representatives, employees, and all persons or entities in active concert or participation with them

   who receive actual notice of this Order, by personal service or otherwise, in connection with the

   manufacturing, labeling, advertising, promotion, offering for sale, sale, or distribution of any

   covered product, in or affecting commerce, are hereby permanently restrained and enjoined from

   making, or assisting others in making, directly or by implication, including through the use of

   any trade name or endorsement, any representation :

           A. That such product treats immune system disorders, asthma, irritable bowel

   syndrome, chronic fatigue syndrome, arthritis, lupus, colds, flu, or Crohn's disease ;

           B . That such product reduces or helps lower users' blood cholesterol levels ;

           C . That such product treats cancer ;

           D. That such product prevents or treats cardiovascular disease ;

           E . That such product reduces the risk factors for diabetes or prevents diabetic-related

   syndromes ;



                                               Page 4 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 5 of 26




         F . That such product reduces the risk of age-related neuro-degeneration ;

          G. That such product reduces the risk of obesity;

         H. That such product reduces, treats, or prevents inflammation, including

  inflammation caused by arthritis, inflammatory bowel disease, sports injuries, asthma, allergies,

  fibromyalgia, lupus, scleroderma, or other inflammatory conditions ;

         I . That such product mitigates, treats, prevents, or cures any disease or illness ; or

         J . About the absolute or comparative health benefits, efficacy, performance, safety,

  or side effects of such product ;

  unless, at the time the representation is made, defendants possess and rely upon competent and

  reliable scientific evidence that substantiates the representation .

                                        II.
                        MISREPRESENTATION OF TESTS OR STUDIES

         IT IS FURTHER ORDERED that defendants, directly or through any corporation,

  partnership, subsidiary, division, trade name, or other device, and their officers, agents, servants,

  representatives, employees, and all persons or entities in active concert or participation with them

  who receive actual notice of this Order, by personal service or otherwise, in connection with the

  manufacturing, labeling, advertising, promotion, offering for sale, sale, or distribution of any

  covered product, are hereby permanently restrained and enjoined from misrepresenting, in any

  manner, expressly or by implication, including through the use of any trade name o r

  endorsement, the existence, contents, validity, results, conclusions, or interpretations of any test

  or study.




                                               Page 5 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 6 of 26




                                             III.
                                     FDA APPROVED CLAIM S

          IT IS FURTHER ORDERED that :

          A. Nothing in this Order shall prohibit defendants from making any representation

  for any drug that is permitted in labeling for such drug under any tentative final or final standard

  promulgated by the Food and Drug Administration, or under any new drug application approved

  by the Food and Drug Administration ; and

         B. Nothing in this Order shall prohibit defendants from making any representation

  for any product that is specifically permitted in labeling for such product by regulations

  promulgated by the Food and Drug Administration pursuant to the Nutrition Labeling and

  Education Act of 1990 .

                                      IV.
                    MONETARY JUDGMENT AND CONSUMER REDRES S

          IT IS FURTHER ORDERED that :

          A. Judgment is hereby entered in favor of the Commission and against defendants

  Garden of Life and Jordan S . Rubin, jointly and severally, in the amount of Two Hundred and

  Twenty-Five Thousand Dollars ($225,000) for consumer redress . Payment shall be made to the

  Commission within ten (10) days after the date of entry of this Order by wire transfer in accord

  with instructions that will be provided by the Commission not later than five (5) days after the

  date of entry of this Order.

          B. All funds paid pursuant to this Order shall be deposited into a fund administered

  by the Commission or its agents to be used for equitable relief, including but not limited to

  consumer redress, and any attendant expenses for the administration of such equitable relief. In


                                              Page 6 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 7 of 26




  the event that direct redress to consumers is wholly or partially impracticable or funds remain

  after redress is completed, the Commission may apply any remaining funds for such other

  equitable relief (including consumer information remedies) as it determines to be reasonably

  related to defendants' practices alleged in the complaint . Any funds not used for such equitable

  relief shall be deposited to the United States Treasury as disgorgement . Defendants shall have no

  right to challenge the Commission's choice of remedies under this Part . Defendants shall have

  no right to contest the manner of distribution chosen by the Commission . No portion of any

  payments under the judgment herein shall be deemed a payment of any fine, penalty, or punitive

  assessment .

          C . Defendants relinquish all dominion, control, and title to the funds paid into th e

  account established pursuant to this Order, and all legal and equitable title to the funds shall vest

  in the Treasurer of the United States unless and until such funds are disbursed to consumers .

  Defend ants shall make no claim to or dem and for the return of the funds, directly or indirectly,

  through counsel or otherwise ; and in the event of bankruptcy of any defendant, defend ants

  acknowledge that the funds are not part of the debtor's estate , nor does the estate have any claim

  or interest therein.

          D . Defendants Garden of Life and Jordan S . Rubin a gree that, if they fail to timely

   and completely fulfill the payment and other obligations set forth in this Order , the facts as

   alleged in the complaint filed in this matter shall be taken as true in any subsequent litigation

   filed by the Commission to enforce its rights pursuant to this Order, including but not limited to a

  non-dischargeability complaint in any bankruptcy case .

          E. In accordance with 31 U .S.C. § 7701, defendants are hereby required , unless they


                                               Page 7 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 8 of 26




   have done so already, to furnish to the Commission their taxpayer identifying numbers and/or

   social security numbers, which shall be used for purposes of collecting and reporting on any

   delinquent amount arising out of defendants' relationship with the government .

          F. Proceedings instituted under this Part are in addition to, and not in lieu of, any

   other civil or criminal remedies that may be provided by law, including any other proceedings the

   Commission may initiate to enforce this Order.

                                               V.
                                        RIGHT TO REOPEN

          IT IS FURTHER ORDERED that the Commission' s agreement to the monetary judgment

   set forth in Part IV is expressly premised on the truthfulness, accuracy, and completeness of the

   financial statements submitted to the Commission by defendants dated April 12, September 27,

   and October 21, 2004, and April 22, May 13, June 1, August 1, and August 3, 2005 . Such

   financial statements contain material information upon which the Commission relied in

   negotiating and agreeing to the monetary judgment . If, upon motion by the Commission, the

   Court finds that such financial statement of any such defendant contains any material

   misrepresentation or omission, the Court shall enter judgment for consumer redress against such

   defendant, in favor of the Commission, in the amount of Forty-Seven Million, Five Hundred and

   Seventy-One Thousand, Three Hundred and Five Dollars ($47,571,305), which defendants

   stipulate is the amount of gross sales of Primal Defense, RM- 10, Living Multi, and FYI prior to

   entry of this Order . The judgment shall become immediately due and payable by such defendant,

   and interest computed at the rate prescribed under 28 U .S .C. § 1961, as amended, shall

   immediately begin to accrue on the unpaid balance ; provided, however, that in all other respect s



                                              Page 8 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 9 of 26




  this Order shall remain in full force and effect unless otherwise ordered by the Court ; and,

  provided further, that proceedings instituted under this provision would be in addition to, and not

  in lieu of, any other civil or criminal remedies as may be provided by law, including but not

  limited to contempt proceedings, or any other proceedings that the Commission or the United

  States may initiate to enforce this Order . For purposes of this Part, and any subsequent

  proceedings to enforce payment, including but not limited to a non-dischargeability complaint

  filed in a bankruptcy proceeding, defendants agree not to contest any of the allegations in the

  Commission's complaint .

                                      VI.
                        ACKNOWLEDGMENT OF RECEIPT OF ORDE R

         IT IS FURTHER ORDERED that each defendant, within seven (7) business days after

  receipt of this Order as entered by the Court, must submit to the Commission a truthful sworn

  statement in the form shown on Appendix A, acknowledging receipt of this Order .

                                   VII.
         NOTICE TO AND MONITORING OF RESELLERS AND DISTRIBUTOR S

         IT IS FURTHER ORDERED that defendants Garden of Life and Jordan S . Rubin, in his

  capacity as director, officer, or other control-person of a business, shall :

         A. Within twenty (20) days of the date this Order becomes final, send an exact copy

  of the notice attached hereto as Appendix B, showing the date of mailing, to each reseller or

  distributor who purchased any covered product manufactured by or purchased from defendants,

  between January 1, 2001 and the date of entry of this Order . This mailing shall not include any

  other document, information, or enclosures . The notice shall be sent as follows :

                 1 . By first class mail, postage prepaid and return receipt requested, to th e


                                               Page 9 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 10 of 26




                              resellers and distributors who together comprise ninety percent (90%) of

                              Garden of Life's total sales revenue ; and

                   2. By electronic mail in a non-alterable digital form to the remaining resellers

                              and distributors, provided, that if this method does not produce a return

                              receipt for a particular reseller or distributor, the notice must be resent to

                              that reseller or distributor by first class mail, return receipt requested ;

           B . Institute a reasonable program of surveillance adequate to reveal whether any of

   defendants' resellers or distributors are disseminating any advertisement or promotional material

   that contains any representation prohibited by this Order .

           C. Notify, immediately, each such reseller or distributor that defendants will sto p

   doing business with that reseller or distributor if it continues to use any advertisement o r

   promotional material that contains any representation prohibited by this Order .

           D. Terminate all sales to any reseller or distributor within twenty (20) days if the

   distributor or reseller has continued to use any advertisement or promotional material that

   contains any representation prohibited by this Order after receipt of the notice required by

   Subpart C of this Part .

                                        VIII.
                        COMPLIANCE MONITORING BY DEFENDANT S

           IT IS FURTHER ORDERED that defend ants Garden of Life, its successors and assi gns,

   and Jordan S . Rubin in connection with the manufacturing , labeling, advertising, promotion,

   offering for sale, sale, or distribution of any covered product manufactured by or purchased from

   defendants, in or affecting commerce , shall in accordance with applicable laws :



                                                   Page 10 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 11 of 26




          A. Take reasonable steps sufficient to monitor and ensure that all employees and

   agents engaged in sales , order verification, or other customer service functions comply with Parts

   I and II of this Order. Such steps shall include adequate monitoring of all advertisements,

   promotions, sales presentations, and other oral and written communications with customers

   regarding such products . Defendants, at a minimum, shall :

                  1 . Conduct periodic monitoring of representations concerning any covered

                          product made by persons engaged in sales or other customer service

                          functions, including representations made orally or through electronic

                          communications, on behalf of defendants ; and

                  2 . Conduct periodic monitoring of representations made about any covered

                          product on all Internet websites operated and maintained by defendants or

                          their agents .

          B. Terminate any employee or agent who knowingly engages in any conduct

   prohibited by Parts I and II of this Order once defendants know or should know that such person

   is or has been engaging in such conduct.

                                      IX .
                    COMPLIANCE MONITORING BY THE COMMISSIO N

          IT IS FURTHER ORDERED that, for the purpose of monitoring and investigating

   compliance with any provision of this Order,

          A. Within twenty (20) days of receipt of written notice to Garden of Life and within

   forty-five (45) days of receipt of written notice to Jordan S . Rubin from a representative of the

   Commission, each defendant shall submit additional written reports, sworn to under penalty o f



                                              Page 11 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 12 of 26




   perjury ; produce documents for inspection and copying ; appear for deposition; and/or provide

   entry during normal business hours to any business location in such defendant's possession or

   direct or indirect control to inspect the business operation ;

            B. In addition, the Commission is authorized to monitor compliance with this Order

   by all other lawful means, including but not limited to the following :

                   1 . Obtaining discovery from any person, without further leave of court, using

                          the procedures prescribed by Fed. R. Civ . P. 30, 31, 33, 34, 36, and 45 ;

                  2. Posing as consumers and suppliers to : Garden of Life, Jordan S . Rubin,

                           either of their employees, or any other entity that either of them manages

                          or controls in whole or in part, without the necessity of identification or

                          prior notice; and

                   3 . Garden of Life and Jordan S . Rubin shall permit representatives of the

                           Commission to interview any employer, consultant, independent

                          contractor, representative, agent, or employee who has agreed to such an

                          interview, relating in any way to any conduct subject to this Order for any

                          business in the control of the defendant(s) . The person interviewed may

                          have counsel present .

   Provided however, that nothing in this Order shall limit the Commission's lawful use of

   compulsory process, pursuant to Sections 9 and 20 of the FTC Act, 15 U .S .C. §§ 49, 57b-1, to

   obtain any documentary material, tangible things, testimony, or information relevant to unfair or

   deceptive acts or practices in or affecting commerce (within the meaning of 15 U .S.C. §

   45(a)(1)) .


                                               Page 12 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 13 of 26




                                       X.
                       COMPLIANCE REPORTING BY DEFENDANT S

          IT IS FURTHER ORDERED that, in order that compliance with the provisions of this

   Order may be monitored :

          A. For a period of five (5) years from the date of entry of this Order ,

                 1 Jordan S. Rubin shall notify the Commission of the following :

                        a. Any changes in his residence, mailing addresses, and telephone

                                numbers, within ten (10) days of such change ;

                        b. Any changes in his employment status (including self-

                                employment) and any change in his ownership in any business

                                entity, within ten (10) days of such change . Such notice shall

                                include the name and address of each business that he is affiliated

                                with, employed by, creates or forms, or performs services for ; a

                                statement of the nature of the business ; and a statement of his

                                duties and responsibilities in connection with the business or

                                employment; and

                        c. Any changes in his name or use of any aliases or fictitious names ;

                                and

                 2 . Defendants shall notify the Commission of any changes in the corporate

                        structure of Garden of Life or any business entity that Jordan S . Rubin

                        directly or indirectly control(s), or has an ownership interest in, that may

                        affect compliance obligations arising under this Order, including but no t



                                            Page 13 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 14 of 26




                          limited to a dissolution, assignment, sale, merger, or other action that

                          would result in the emergence of a successor entity ; the creation or

                          dissolution of a subsidiary, parent, or affiliate that engages in any acts or

                          practices subject to this Order ; the filing of a bankruptcy petition ; or a

                          change in the corporate name or address ; at least thirty (30) days prior to

                          such change, provided that, with respect to any proposed change in the

                          corporation about which the defendant(s) learns less than thirty (30) days

                         prior to the date such action is to take place, the defendant(s) shall notify

                         the Commission as soon as is practicable after obtaining such knowledge .

          B . Sixty (60) days after the date of entry of this Order, defendants Garden of Life and

   Jordan S . Rubin each shall provide a written report to the Commission, sworn to under penalty of

   perjury, setting forth in detail the manner and form in which they have complied and are

   complying with this Order. This report shall include, but not be limited to :

                  1 . For Jordan S . Rubin:

                         a. His then-current residence addresses, mailing addresses, and

                                 telephone numbers ;

                         b . His then-current employment and business addresses and telephone

                                 numbers ; a description of the business activities of each such

                                 employer or business, and his title and responsibilities, for each

                                  such employer or business; an d

                         c . Any other changes required to be reported under Subpart A of thi s

                                 Part.


                                               Page 14 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 15 of 26




                  2. For all defendants :

                          a. A copy of each acknowledgment of receipt of this Order obtained

                                  pursuant to Part VI;

                          b. A statement describing the manner in which the defendants have

                                  complied and are complying with Parts I, II, VI, VII, and VIII of

                                  this Order, including identification of all products that they

                                  advertise or sell, and copies of all their current advertising; an d

                          c. Any other changes required to be reported under Subpart A of thi s

                                  Part .

          C. For the purposes of this Order, defendants shall, unless otherwise directed by the

   Commission' s representatives, mail all w ritten notifications to the Commission to :

                  Associate Director for Enforcement
                  Federal Trade Commission
                  600 Pennsylvania Avenue, NW
                  Washington, D .C . 2058 0
                  Re : FTC v. Garden of Life, et al., Civil Action No .

          D. For purposes of the compliance reporting and monitoring required by this Order,

   the Commission is authorized to communicate directly with defendants if they cannot be reached

   through their last known counsel of record .

                                            M.
                                 RECORD-KEEPING PROVISION S

          IT IS FURTHER ORDERED that, for a period of five (5) years from the date of entry of

   this Order, Garden of Life and Jordan S . Rubin in connection with any business involved in the

   advertising, marketing, promotion, offer for sale, sale , or distribution, of any covered product, o r



                                              Page 15 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 16 of 26




    where any such defendant is a majority owner of such a business or directly or indirectly

    manages or controls such a business, such defendant(s) and their agents, employees, officers,

    corporations, successors, and assigns, and those persons in active concert or participation with

   them who receive actual notice of this Order by personal service or otherwise, are hereby

   restrained and enjoined from failing to create and retain the following records :

           A . Accounting records that reflect the cost of covered products sold, revenues

   generated, and the disbursement of such revenues ;

           B . Personnel records accurately reflecting : the name, address, and telephone number

   of each person employed in any capacity by such business, including as an independent

   contractor ; that person's job title or position ; the date upon which the person commenced work ;

   and the date and reason for the person's termination, if applicable ;

           C . Customer files containing the names, addresses, phone numbers, dollar amount s

   paid, quantity of covered products purchased, and description of covered products purchased, to

   the extent such information is obtained in the ordinary course of business ;

           D . Complaints and refund requests (whether received directly, indirectly, or through

   any third party), including but not limited to reports of adverse incidents claimed to be associated

   with the use of a product or service, and any responses to those complaints or requests ;

          E . Copies of all advertisements, promotional materials, sales scripts, training

   materials, websites, or other marketing materials utilized in the advertising, marketing,

   promotion, offering for sale, sale, or distribution of any covered product ;

          F. All materials that were relied upon in making any representations contained in the

   materials identified in Subpart E of this Part, including all documents evidencing or referring t o


                                              Page 16 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 17 of 26




   the accuracy of any claim therein or to the efficacy of any covered product, including, but not

   limited to, all tests, reports, studies, demonstrations, or other evidence that confirm, contradict,

   qualify, or call into question the accuracy or efficacy of each such product ;

          G. Records accurately reflecting the name, address, and telephone number of each

   manufacturer or laboratory engaged in the development or creation of any testing obtained for the

   purpose of manufacturing, labeling, advertising, marketing, promoting, offering for sale, selling,

   or distributing any covered product ;

          H . Copies of all contracts concerning the manufacturing, labeling, advertising,

   marketing, promotion, offering for sale, sale , or distribution of any covered product ; an d

          1. All records and documents necessary to demonstrate full compliance with eac h

   provision of the Order, including but not limited to, copies of acknowledgments of receipt of thi s

   Order and all reports submitted to the Commission pursuant to this Order .

                                          XII.
                         DISTRIBUTION OF ORDER BY DEFENDANT S

          IT IS FURTHER ORDERED that, for a period of three (3) years from the date of entry o f

   this Order, defendants shall deliver copies of the Order as directed below :

          A. Corporate Defendant : Garden of Life must deliver a copy of this Order to all of its

   principals, officers, directors, and managers . Garden of Life also must deliver copies of this

   Order to all of its employees, agents, representatives, consultants, and independent contractors

   who engage in conduct related to the subject matter of this Order . For current personnel, delivery

   shall be within seven (7) days of service of this Order upon Garden of Life . For new personnel,

   delivery shall occur prior to them assuming their position or responsibilities .



                                               Page 17 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 18 of 26




          B . Individual Defend ant as Control Person : For any business that defendant Jord an S .

   Rubin controls, directly or indirectly, or in which he has a majo rity ownership interest, he must

   deliver a copy of this Order to all p rincipals, officers, directors, and m anagers of that business .

   He also must deliver copies of this Order to all employees, agents , and representatives of that

   business who engage in conduct related to the subject ma tter of this Order. For current

   personnel, delivery shall be within seven (7) days of service of this Order upon the defendant.

   For new personnel, delivery shall occur prior to them assuming their responsibilities .

          C. Individual Defendant as Employee or Non-Control Person : For any busines s

   where Jord an S. Rubin is not a controlling person of the business but otherwise engages in

   conduct related to the subject matter of this Order, he must deliver a copy of this Order to all

   principals and managers of such business before engaging in such conduct .

          D . Defendants must secure a signed and dated written statement, or legally-binding

   electronically signed and dated receipt, acknowledging receipt of the Order , within thirty (30)

   days of delivery, fr om all persons receiving a copy of the Order pursu ant to this Part.




                                                Page 18 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 19 of 26




                                             XIII.
                                   RETENTION OF JURISDICTIO N

            IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter fo r

     purposes of construction, modification, and enforcement of this Order .


      SO STIPULATED :


      KAREN M . MUOIO                                  GARDEN OF LIFE, INC .
      MICHAEL OSTHEIMER                                By : Greg Ho rn, President and CE O
      FEDERAL TRADE COMMISSION
      600 Pennsylvania Avenue, NW
      Mail Drop NJ-3212                                JORDAN S . RUBIN, individually and as an
      Washington, D .C . 20580                         officer or director of Garden of Life, Inc .
      Tel . : (202) 326-2491(KM), -2699(MO)
      Fax : (202) 326-325 9
      Email : kmuoio@ftc .gov,                         MARK B . SEIGER
                mostheimer@ftc .go v                   Edwards & Angell, LL P
                                                       Attorney for Defendant Garden of Life, Inc .
      Attorneys for Plaintiff Federal Trade
      Commission
                                                              M . TIFFORD
                                                       Riper R' do nk z>/-4 f+P.r Rvd rnt c.F 6r* y C. rr   US
                                                                                                            '-'- P
                                                       Attorney for Defendant Garden of Life, Inc .



                                                       SEAN M . ELLSWORTH
                                                       Ellsworth Law Firm, P .A .
                                                       Attorney for Defendant Jordan S . Rubi n



                                                       Dated :
          ITED STATES DISTRICT JUDGE




                                               Page 19 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 20 of 26




                                             XIII.
                                   RETENTION OF JURISDICTIO N

            IT IS FURTHER ORDERED that this Court shall retain juri sdiction of this matter fo r

     purposes of construction, modification, and enforcement of this Order .


      DSO T FUL TE~ : ~~ ^•.


      KAREN M . MUOIO                                  GARD'I-OF LIFE, INC .
      MICHAEL OSTHEIMER                                By : Greg Horn, President and CE O
      FEDERAL TRADE COMMISSION
      600 Pennsylvania Avenue, NW
      Mail Drop NJ-321 2                               JWAN S. RUBIN, individually and as an
      Washington , D.C. 20580                           ficer or director of Garden offe, Inc .
      Tel .: (202) 326-2491(KM), -2699(MO)
      Fax : (202) 326-325 9
      Email : kmuoio @ ftc .gov,                       MARK B . SEIGER
              mostheimer @ ftc .go v                   Edwards & Angell, LLP
                                                       Attorney for Defendant Garden of Life, Inc .
      Attorneys for Plaintiff Federal Trade
      Commission
                                                       JOHN M . TIFFORD
                                                       Piper Rudnick
                                                       Attorney for Defendant Garden of Life, Inc .



                                                       SEAN M . ELLSWORTH
                                                       Ellsworth Law Firm, P .A .
                                                       Attorney for Defendant Jordan S . Rubi n

      SO ORDERED :

                                                       Dated :
       UNITED STATES DISTRICT JUDGE




                                               Page 19 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 21 of 26




                                              XIII .
                                    RETENTION OF JURISDICTIO N

            IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter fo r

     purposes of construction , modification, and enforcement of this Order .


      SO STIPULATED :


      KAREN M . MUOIO                                   GARDEN OF LIFE, INC .
      MICHAEL OSTHEIMER                                 By: Greg Horn, President and CEO
      FEDERAL TRADE COMMISSION
      600 Pennsylvania Avenue, NW
      Mail Drop NJ-3212                                 JORDAN S . RUBIN, individually and as an
      Washington, D .C . 20580                          officer or director of Garden of Life, Inc .
      Tel. : (202) 326-2491(KM), -2699(MO)
      Fax : (202) 326-325 9
      Email : kmuoio @ftc.gov,                          MARK B . SEIGER
              mostheimer@ftc .gov                       Edwards & Angell, LLP
                                                        Attorney for Defend an t Garden of Life, Inc .
      Attorneys for Plaintiff Federal Trade
      Commission
                                                        JOHN M . TIFFORD
                                                        Piper Rudnick
                                                        Attorney for Defendant Garden of Life, Inc .



                                                        SEAN M. ELLSWORT H
                                                        Ellsworth Law Firm, P .A .
                                                        Attorney for Defendant Jordan S . Rubin

      SO ORDERED :

                                                        Dated :
      UNITED STATES DISTRICT JUDGE




                                                Page 19 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 22 of 26




                                       APPENDIX A
                               [ACKNOWLEDGMENT OF RECEIPT ]

                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORID A

                                         Case No .

   FEDERAL TRADE COMMISSION ,

            Plaintiff

   V.

   GARDEN OF LIFE, INC . AND
   JORDAN S . RUBIN ,

            Defendants .


                        AFFIDAVIT OF DEFENDANT [NAME OF DEFENDANT]

            [Name of defendant], being duly sworn, hereby states and affirms as follows :

             1 . My name is                                    . My current residence address is

                                                                           . I am a citizen of the United

    States and am over the age of eighteen . I have personal knowledge of the facts set fo rth in this

    Affidavit.

            2 . I am a defend ant in FTC v. Garden of Life, Inc., et al ., Civil Action No .

    (S .D. Fla.).

            3 . On [date] , I received a copy of the Stipulated Final Order and Judgment for

    Permanent Injunction and Other Equitable Relief which w as signed by the Honorable [name of

    U.S. District Judge] and entered by the Cou rt on [date of entry of Order] . A true and correct

    copy of the Order I received is appended to this Affidavit.


                                               Page 20 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 23 of 26




           I declare under penalty of perjury under the laws of the United States that the foregoing i s

   true and correct . Executed on [date], at [city and state] .


                                                              [Full name of defendant]


   State of                            , City o f

           Subscribed and sworn to before m e
           this day of                        52005 .




                   Notary Publi c
                   My Commission Expires :


                   acknowledging receipt of this Order .




                                                    Page 21 of 23
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 24 of 26




                                        APPENDIX B
                            GOVERNMENT-ORDERED DISCLOSURE
                                 [on Garden of Life Letterhead]

   [Insert Date ]

   Dear Garden of Life Reseller or Distributor ,

           This letter is to inform you that Garden of Life, Inc . recently settled a dispute with the
   Federal Trade Commission regarding our advertising for Primal Defense, RM-10, Living Multi,
   and FYI. The order entered by the district court expressly provides that there has been no
   admission by us of any liability. Among other things, the order also contains an injunction
   requiring us to instruct you to stop using advertising or promotional materials that make any of
   the representations prohibited by the order, as summarized below .

           1 . Unless we have competent and reliable scientific evidence to support the claim,
   we are prohibited from representing, in any manner, expressly or by implication, that Primal
   Defense, RM-10, Living Multi, FYI, or any other dietary supplement, food, drug, or program
   containing any of the above : treats, prevents, or reduces the risk of immune system disorders,
   asthma, irritable bowel syndrome, chronic fatigue syndrome, arthritis, lupus, colds, flu, Crohn's
   disease, cancer, cardiovascular disease, diabetes, diabetic-related syndromes, age-related neuro-
   degeneration, or obesity ; reduces or helps lower users' blood cholesterol levels ; reduces, treats,
   or prevents inflammation, including inflammation caused by arthritis, inflammatory bowel
   disease, sports injuries, asthma, allergies, fibromyalgia, lupus, scleroderma, or other
   inflammatory conditions ; mitigates, treats, prevents, or cures any disease or illness; or has
   absolute or comparative health benefits, efficacy, performance, or safety ; or lacks side effects .

           2. We also are prohibited from misrepresenting, in any manner, expressly or by
   implication, the existence, contents, validity, results, conclusions, or interpretations of any test,
   study, or scientific research relating to any dietary supplement, food, drug, or program containing
   any dietary supplement, food, or drug .

          The order requires us to monitor your advertisements and promotional materials and
   terminate all sales to you if you make any of the above prohibited claims for our products .

         You should visit our website, www.gardenoflifeusa .com, for our most up-to-date
   promotional materials .

          If you have any questions , please contact [insert name and telephone number of the
   responsible Garden of Life Attorney or Officer] .

                                                         Sincerely,


                                                         Greg Horn, President & CEO
                                                         Garden of Life, Inc .
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 25 of 26




                                    CERTIFICATE OF SERVIC E

   Dated : March 8, 2006
           Washington, D .C.

          I hereby certify that a true and correct copy of the foregoing Stipulated Final Order and

   Judgment for Permanent Injunction and Other Equitable Relief was served by Federal Express on

   March 8, 2006 upon all counsel for defendants on the attached service list :
Case 9:06-cv-80226-DMM Document 8 Entered on FLSD Docket 03/31/2006 Page 26 of 26




                                        SERVICE LIST
                Federal Trade Commission v. Garden of Life, Inc. and Jordan S. Rubin
                         Case No .                 (S.D. Fla.)



     Karen M. Muoio, Esq .                       Mark B. Seiger, Esq .
     kmuoio@ftc .gov                             mseiger@EdwardsAngell .com
     Michael Ostheimer, Esq .                    Edwards & Angell LLP
     mostheimer@ftc .gov                         90 State House Square
     Federal Trade Commission                    Hartford, CT 06103
     600 Pennsylvania Avenue, NW                 Tel . : (860) 525-5065
     Mail Drop NJ-3212                           Fax : (860) 527-419 8
     Washington, D .C . 2058 0
     Tel. : (202) 326-2491(KM), -2699(MO)        Attorneys for Defendant Garden of Life, Inc .
     Fax : (202) 326-3259

     Attorneys for Plaintiff Federal Trade
     Commission

     John M . Tifford, Esq.                      Sean M. Ellsworth, Esq .
     john,tifford@dlapiper .com                  sean@ellslaw.com
     DLA Piper Rudnick Gray Cary US LLP          Ellsworth Law Firm, P .A.
      1775 Wiehle Avenue, Suite 400              404 Washington Avenue, Suite 750
     Reston, VA 2019 0                           Miami Beach, FL 3313 9
      Tel. : (703) 773-4244                      Tel. : (305) 535- 2529
     Fax: (703) 773-5055                         Fax : (305) 535-288 1

     Attorneys for Defendant Garden of Life,     Attorneys for Defendant Jordan S . Rubin
     Inc .




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